






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00612-CR





			

								

Jose Alexis Rivera, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT


NO. 05-123-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Jose Alexis Rivera seeks to appeal from a judgment of conviction for credit card
abuse.  Sentence was imposed on August 22, 2006.  Without a timely motion for new trial, the
deadline for perfecting appeal was September 21.  Tex. R. App. P. 26.2(a)(1).  Notice of appeal was
filed on September 25.  No extension of time for filing notice of appeal was requested.  Tex. R. App.
P. 26.3.  There is no indication that notice of appeal was properly mailed to the district clerk within
the time prescribed by rule 26.2(a).  Tex. R. App. P. 9.2(b).  Under the circumstances, we lack
jurisdiction to dispose of the purported appeal in any manner other than by dismissing it for want of 




jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.1998); Olivo v. State, 918
S.W.2d 519, 522-23 (Tex. Crim. App. 1996).

		The appeal is dismissed.



						                                                                                

						G. Alan Waldrop, Justice

Before Justices B. A. Smith, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   October 31, 2006

Do Not Publish


